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Exhibit 2

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Attorney: STEINMEYER, AMANDA G
Law Firm: SPEKGHTS & RUNYAN
Claim Number: 11428 :
Claimant: PRESIDENTIAL TOWERS CONDO FKA AMERICANA,

As described below, certain questions on the Asbestas Property Damage Proof of
Claim Form require the claimant to provide documents. On the Claim Form identified
above, the fallowing checked questions were not answered or were not responded to
properly, for the reason(s) stated:

4 Category 1 Claim: O Category 1 Comments:
16. Documents relating to the purchase and/or installation of the product in the property.
C) No documents were provided,

D1 Documents provided are insufficient because:

18. Documents concerning when the claimant first knew of the presence of asbestos in

the property.
prope C) No documents were provided.

Documents provided are insufficient because:

they fail to indicate either expressly or from the nature or context of the
document, when the claimant first knew of the presence of asbestos in the

property.
22. Documents concerning efforts to remove, contain and/or abate the Grace product.
No documents were provided.
OD Documents provided are insufficient because:

26. Documents concerning testing er sampling for asbestos in the property.
[ No documents were provided.
Decuments provided are insufficient because:
building air sample results were not included.

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